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            8                                    UNITED STATES DISTRICT COURT
            9                                  NORTHERN DISTRICT OF CALIFORNIA
          10                                            OAKLAND DIVISION
                 EPIC GAMES, INC.,
          11                                                   CASE NO. 4:20-cv05640-YGR-TSH
                        Plaintiffs, Counter-defendant
          12       v.
          13     APPLE INC.,
                        Defendant, Counterclaimant
          14
                 IN RE APPLE IPHONE ANTITRUST
          15     LITIGATION                                    CASE NO. 4:11-cv-06714-YGR
                 ______________________________________
          16     DONALD R. CAMERON, et al.,
                                                               CASE NO. 4:19-cv-03074-YGR
                         Plaintiffs,
          17
                    v.                                        [PROPOSED] ORDER GRANTING
          18                                                  PLAINTIFFS’ JOINT ADMINISTRATIVE
                 APPLE INC.,                                  MOTION TO FILE UNDER SEAL THE
          19             Defendant                            JOINT DISCOVERY LETTER BRIEF AND
                                                              SUPPORTING EXHIBITS REGARDING
          20                                                  DEPOSITIONS

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Gibson, Dunn &
Crutcher LLP
                           [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                              CASE NOS. 4:20-CV05640-YGR-TSH, 4:11-CV-06714-YGR, 4:19-CV-03074-YGR
                     Case 4:20-cv-05640-YGR Document 204-1 Filed 12/22/20 Page 2 of 3


            1           Pursuant to Civil Local Rule 79-5, Plaintiffs have filed a Joint Administrative Motion to File
            2    Under Seal The Joint Discovery Letter Brief and Supporting Exhibits Regarding Depositions (“Join
            3    Discovery Letter Brief”). In support, Defendant Apple Inc. (“Apple”) filed the supporting
            4    declaration of Jay P. Srinivasan.
            5           Having considered the Joint Administrative Motion, all associated declarations, exhibits, and
            6    any argument of counsel, and for good cause appearing:
            7           IT IS HEREBY ORDERED that Plaintiff’s Joint Administrative Motion is GRANTED.
            8    Accordingly,
            9           (1)     The unredacted version of the Joint Administrative Motion shall remain under seal;
          10            (2)     The public shall only have access to the version of the Joint Administrative Motion in
          11     which portions of the following pages have been redacted:
          12

          13           Document Containing                                 Reason for Sealing
                      Confidential Information
          14      Joint Discovery Letter Brief, p.5    Contains information regarding sensitive business
                                                       decisions regarding competition and policy decisions
          15                                           related to in-app purchasing.
                  Exhibit A, pp.6-7                    Contains information regarding sensitive business
          16                                           decisions regarding competition and policy decisions
                                                       related to in-app purchasing.
          17      Exhibit C, pp.3-7                    Contains information regarding sensitive business
                                                       decisions regarding competition and policy decisions
          18                                           related to in-app purchasing.
                  Exhibit 4, pp.3-7                    Contains information regarding sensitive business
          19                                           decisions regarding competition and policy decisions
                                                       related to in-app purchasing.
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Gibson, Dunn &                                                     2
Crutcher LLP
                              [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                       CASE NO. 4:11-CV-06714-YGR, CASE NO. 4:19-CV-03074-YGR
                   Case 4:20-cv-05640-YGR Document 204-1 Filed 12/22/20 Page 3 of 3


            1         IT IS SO ORDERED.
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            3    DATED: ______________________, 2020
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            5                                                ______________________________________
            6                                                     The Honorable Thomas S. Hixson
                                                                   United States Magistrate Judge
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Gibson, Dunn &                                           3
Crutcher LLP
                         [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                  CASE NO. 4:11-CV-06714-YGR, CASE NO. 4:19-CV-03074-YGR
